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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Sioux Steel Company
                                                 Plaintiff,
v.                                                            Case No.: 1:23−cv−03988
                                                              Honorable Mary M. Rowland
Prairie Land Millwright Services, Inc., et al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 3, 2024:


        MINUTE entry before the Honorable Mary M. Rowland: The parties have filed a
stipulation to dismiss this matter, without prejudice, subject to the terms of the Settlement
Agreement and Permanent Injunction, with leave to reinstate on or before September 9,
2031. Accordingly, the matter is dismissed without prejudice. Civil case terminated. In the
event a motion to reinstate is not filed on or before September 9, 2031, this matter shall be
deemed, without further order of the Court, to be dismissed with prejudice. Each party to
bear its own attorneys' fees and costs, other than those previously satisfied under the
Settlement Agreement. Mailed notice. (dm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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